      Case 3:21-cr-02627-CAB Document 20 Filed 10/29/21 PageID.59 Page 1 of 2




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6
                         UNITED STATES DISTRICT COURT
7
                       SOUTHERN DISTRICT OF CALIFORNIA
8
     UNITED STATES OF AMERICA           )    No. 21CR2627-CAB
9                                       )
                      Plaintiff,        )    ORDER ON JOINT MOTION TO
10                                      )    CONTINUE MOTION HEARING/TRIAL
        v.                              )    SETTING
11                                      )
                                        )
12   MATTHEW TAYLOR COLEMAN,            )
                                        )
13                    Defendant.        )
                                        )
14
15
         The United States of America and defendant MATTHEW TAYLOR
16
     COLEMAN jointly move to continue the motion hearing and trial
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     setting from Nov. 5, 2021, 10:30 a.m. to a date and time
18
     convenient to the court in May 2022. The parties also jointly
19
     move to exclude time under the Speedy Trial Act, 18 U.S.C. §
20
     3161(h)(7).
21
         For reasons stated in paragraph 2(c)(1)-(6) of the joint
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     motion, incorporated by reference herein, the court finds the
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     ends of justice served by granting the requested continuance
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     outweigh the best interest of the public and the defendant in a
25
     speedy trial.
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      Case 3:21-cr-02627-CAB Document 20 Filed 10/29/21 PageID.60 Page 2 of 2




1        IT IS HEREBY ORDERED that the joint motion is granted. The

2    Motion Hearing/Trial Setting set for November 5, 2021 shall be

3    continued to May 19, 2022 at 9:30 AM.

4        IT IS FURTHER ORDERED that a Status Hearing shall also be

5    held February 3, 2022 at 9:30 AM.

6        IT IS FURTHER ORDERED that the period from November 5, 2021

7    through May 19, 2022 shall be excluded in computing the time

8    within which the trial must commence under the Speedy Trial Act,

9    18 U.S.C. § 3161.

10       IT IS SO ORDERED.

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12   DATED: October 29, 2021.
                                                                  x
13                                    HON. CATHY ANN BENCIVENGO
                                      United States District Court Judge
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